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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 ALEXANDER KESTENBAUM and
 STUDENTS AGAINST ANTISEMITISM,
 INC.,
                                                       Case No. 1:24-cv-10092-RGS
                 Plaintiffs,

 v.

 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE,

                 Defendant.



               DECLARATION OF MEREDITH WEENICK IN SUPPORT OF
                      DEFENDANT’S MOTION TO DISMISS

       I, Meredith Weenick, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, as
follows:

        1.      I am an Executive Vice President at Harvard University. I am familiar with the

facts set forth in this declaration. I am competent and willing to testify to the matters contained

in this declaration.

        2.      I submit this declaration in support of the Rule 12(b)(1) portions of Harvard’s

Motion to Dismiss Plaintiffs’ Amended Complaint.

        3.      Harvard has engaged in efforts to increase on-campus security since October 7.

As part of these efforts, Harvard has increased the presence of campus security and police

officers at locations and events frequented and organized by members of Harvard’s Jewish

community and in student residences. Harvard also has periodically restricted access to Harvard

Yard by closing the gates in an effort to limit outside disruptions.



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       4.      At the same time, Harvard has established new initiatives to facilitate discussion

and to build a more respectful and inclusive community through civil discourse and respectful

debate. Starting in the Spring 2024 semester, Harvard began a week-long series of events,

forums, convenings, and activities called “Harvard Dialogues” with the goal of modeling and

facilitating discussion and respectful debate. Offerings included panels, forums, and events for

community members to explore the conflict in the Middle East. Individual schools have adopted

their own initiatives to educate community members about civil discourse during difficult

conversations and facilitate robust and respectful dialogue.

       5.      Soon after Harvard Hillel reported antisemitic posts on the messaging platform

Sidechat, Harvard administration met with Sidechat’s Chief Executive Officer and secured

assurance from Sidechat to engage in 24/7 content moderation. Following these conversations,

Sidechat has limited access to the Harvard community page of its application to Harvard College

students only, who have a unique college.harvard.edu email address. Before this change, the

Harvard community page was available to anyone with a harvard.edu email address, a group that

includes more than 500,000 people including faculty, staff, graduate students, and alumni. This

change took the pool of potential users from 500,000 affiliates to fewer than 10,000

undergraduate students.

       6.      Harvard is developing, and will implement, educational and training programs for

students, faculty and staff that focus on antisemitism both generally and at Harvard specifically.

These efforts include organizing new antisemitism-focused educational and training sessions for

the more than 200 Harvard faculty and administrators who may be involved in the disciplinary

processes at Harvard’s individual schools.




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       7.      Harvard is engaged in investigatory and disciplinary proceedings related to post-

October 7 reports of antisemitic incidents.

       8.      On February 1, 2024, Harvard placed Harvard Faculty of Arts and Sciences

employee Gustavo Espada on leave.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.



Signed this 12th day of April 2024 under the pains and penalties of perjury.

                                                             /s/____________________________
                                                                    Meredith Weenick




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